
995 A.2d 873 (2010)
Robert PETTY and R.G. Petty Masonary, Petitioners
v.
HOSPITAL SERVICE ASSOCIATION OF NORTHEASTERN PENNSYLVANIA, d/b/a Blue Cross of Northeastern Pennsylvania, a Non-Profit Pennsylvania Corporation, Respondent.
No. 191 MAL 2009.
Supreme Court of Pennsylvania.
June 1, 2010.

ORDER
PER CURIAM.
AND NOW, this 1st day of June, 2010, the Petition for Allowance of Appeal is hereby GRANTED, IN PART, and LIMITED to the following questions, as restated for clarity:
1. Whether policyholders and subscribers who have purchased medical insurance from a nonprofit corporation have standing under 15 Pa.C.S.A. § 5793(a) of the Non Profit Corporation Law of 1988 to challenge the corporation's actions in court?
2. Whether policyholders and subscribers who have purchased medical insurance from a nonprofit corporation have standing to maintain a breach of contract claim for the non profit corporation's alleged violation of other provisions of the Non Profit Corporation Law of 1988, such as 15 Pa.C.S.A. § 5545?
3. Whether policyholders and subscribers who have purchased medical insurance from a nonprofit corporation may maintain a claim for breach of fiduciary duty against that corporation for its alleged excess accumulation of surplus profits?
In all other respects, the Petition for Allowance of Appeal is DENIED.
